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                                                             FILED: September 17, 2024

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

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                                        No. 24-1890 (L)
                                     (8:20-cv-03060-DLB)
                                    ___________________

        SIERRA CLUB; CENTER FOR BIOLOGICAL DIVERSITY; FRIENDS OF
        THE EARTH; TURTLE ISLAND RESTORATION NETWORK

                    Plaintiffs - Appellees

        v.

        AMERICAN PETROLEUM INSTITUTE; ENERGEO ALLIANCE; NATIONAL
        OCEAN INDUSTRIES ASSOCIATION

                    Intervenors/Defendants - Appellants

        and

        NATIONAL MARINE FISHERIES SERVICE; CHRIS OLIVER, in his official
        capacity as Assistant Administrator for National Oceanic and Atmospheric
        Administration

                    Defendants

        CHEVRON U.S.A. INC.

                    Intervenor/Defendant

                                    ___________________

                                          No. 24-1892
                                     (8:20-cv-03060-DLB)
                                    ___________________
USCA4 Appeal: 24-1890    Doc: 3        Filed: 09/17/2024    Pg: 2 of 2


        SIERRA CLUB; CENTER FOR BIOLOGICAL DIVERSITY; FRIENDS OF
        THE EARTH; TURTLE ISLAND RESTORATION NETWORK

                     Plaintiffs - Appellees

        v.

        CHEVRON U.S.A. INC.

                     Intervenor/Defendant - Appellant

        and

        NATIONAL MARINE FISHERIES SERVICE; CHRIS OLIVER, in his official
        capacity as Assistant Administrator for National Oceanic and Atmospheric
        Administration

                     Defendants

        AMERICAN PETROLEUM INSTITUTE; ENERGEO ALLIANCE; NATIONAL
        OCEAN INDUSTRIES ASSOCIATION

                     Intervenors/Defendants

                                     ___________________

                                          ORDER
                                     ___________________

              The court consolidates Case No. 24-1890 (L) and Case No. 24-1892. Entry

        of appearance forms and disclosure statements filed by counsel and parties to the

        lead case are deemed filed in the secondary case.

                                              For the Court--By Direction

                                              /s/ Nwamaka Anowi, Clerk
